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UNITED STATES BANKRUPTCY C()URT SOUTHERN DISTRICT OF TEXAS

 

Motion and Order for Admission Pro Hac Vice

 

 

 

 

 

 

 

 

 

 

 

 

Division l'lOUS'tOn Main Case Numbcr 18-32106
Debtor ln R€f Erin Energy Corporation
Lawyer’s Name Jonathan C. CrOSS
Firm Herbert Smith Freehills New York LLP
Street 450 Lexington Avenue, 14th Floor
City & Zip Code New York, NY 10017
Telephone & Emai] 917-542-7600; jonathan.cross@hsf.com
Licensed: State & Number NBW Y-ork; 4076139
Federal Bar & Number SDNY' JC2253
Name of party applicant seeks to lVlauritiuS COmmerCial Bank Limited
appear for:
Has applicant been sanctioned by any bar association or court? Yes No l/

On a separate sheet for each sanction, please supply the full particulars

/')

Dated: 5/8/2018 Signed: / %7//

The state bar reports that the applicant’s status is:

 

 

 

 

 

 

 

 

Dated: Clerk’s signature:

 

 

Order

 

 

This lawyer is admitted pro hac vice.

 

Dated:

 

United States Banl<ruptcy Judge

